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                                    UNITED STATES BANKRUPTCY COURT
                                     NORTHERN DISTRICT OF ILLINOIS
                                            EASTERN DIVISION

In re:     Holmes, Torranio A                                 §               Case No. 09 B 31324
                                                              §
           Debtor                                             §
                                                              §



            CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT

         Marilyn O. Marshall, chapter 13 trustee, submits the following Final Report and Account of the
         administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as follows:

                    1) The case was filed on 08/26/2009.


                    2) The plan was confirmed on 10/15/2009.


                    3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329
         on (NA).

                   4) The trustee filed action to remedy default by the debtor in performance under the
         plan on 01/28/2010.

                    5) The case was dismissed on 01/07/2010.


                    6)   Number of months from filing or conversion to last payment: 5.


                    7)   Number of months case was pending: 6.


                    8) Total value of assets abandoned by court order: (NA).


                    9) Total value of assets exempted: $22,100.00.


                    10) Amount of unsecured claims discharged without full payment: $0.


                    11) All checks distributed by the trustee relating to this case have cleared the bank.

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    Receipts:
                  Total paid by or on behalf of the debtor                              $517.70
                  Less amount refunded to debtor                                             $0

    NET RECEIPTS:                                                                                                       $517.70



    Expenses of Administration:
                  Attorney's Fees Paid Through the Plan                                 $222.49
                  Court Costs                                                                $0
                  Trustee Expenses & Compensation                                        $33.12
                  Other                                                                      $0

    TOTAL EXPENSES OF ADMINISTRATION:                                                                                   $255.61

    Attorney fees paid and disclosed by debtor:                     $400.00



    Scheduled Creditors:
    Creditor!                            !                Claim!          Claim!            Claim!        Principal!          Int.!
    Name                                 Class          Scheduled        Asserted          Allowed          Paid              Paid
    Illinois Dept Of Healthcare And FamilPriority               $0               NA               NA               $0                 $0
    Illinois Dept Of Healthcare And FamilPriority               $0               NA               NA               $0                 $0
    Internal Revenue Service             Priority          $923.00        $1,136.55         $1,136.55              $0                 $0
    American General Finance             Secured         $7,312.00        $7,011.65         $7,011.65        $231.25                  $0
    English Valley Condo Assoc           Secured         $2,320.00        $2,319.75         $2,319.75         $15.42                  $0
    Everhome Mortgage Company            Secured         $4,300.00        $4,330.04         $4,300.00              $0                 $0
    Everhome Mortgage Company            Secured        $69,829.00       $65,529.60        $65,529.60              $0                 $0
    Riverside Finance                    Secured         $1,143.00        $1,143.42         $1,143.00         $15.42                  $0
    American InfoSource LP               Unsecured         $290.00            $289.75        $289.75               $0                 $0
    Asset Acceptance                     Unsecured         $762.00            $762.79        $762.79               $0                 $0
    Asset Acceptance                     Unsecured             NA         $2,743.89         $2,743.89              $0                 $0
    Capital One                          Unsecured       $1,823.00        $1,830.16         $1,830.16              $0                 $0
    Credit Protection Association        Unsecured         $186.00               NA               NA               $0                 $0
    Dell Financial Services, Inc         Unsecured         $953.00               NA               NA               $0                 $0
    Dell Financial Services, Inc         Unsecured         $953.00               NA               NA               $0                 $0
    Dell Financial Services, Inc         Unsecured              $0        $1,453.13         $1,453.13              $0                 $0
    English Valley Condo Assoc           Unsecured             NA                 $0                 $0            $0                 $0
                                                                                                                        (Continued)
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    Scheduled Creditors: (Continued)
    Creditor!                        !                Claim!        Claim!       Claim!      Principal!       Int.!
    Name                             Class          Scheduled      Asserted     Allowed        Paid           Paid
    Global Payments                  Unsecured       $1,141.00      $1,141.52    $1,141.52            $0              $0
    Global Payments                  Unsecured       $1,025.00      $1,025.00    $1,025.00            $0              $0
    HomEq Servicing Corp             Unsecured             NA      $43,573.14   $43,573.14            $0              $0
    Internal Revenue Service         Unsecured             NA          $11.57      $11.57             $0              $0
    Jefferson Capital Systems LLC    Unsecured       $1,415.00      $1,415.63    $1,415.63            $0              $0
    Lincoln Tech                     Unsecured         $961.00      $1,139.24    $1,139.24            $0              $0
    LTD Financial Services           Unsecured         $133.00           NA           NA              $0              $0
    National Recoveries Inc          Unsecured          $94.00           NA           NA              $0              $0
    NDC Check Services               Unsecured       $1,025.00           NA           NA              $0              $0
    Receivable Management SE         Unsecured         $225.00           NA           NA              $0              $0
    Receivable Management SE         Unsecured         $100.00           NA           NA              $0              $0
    Receivables Management Inc       Unsecured             NA        $250.00      $250.00             $0              $0
    Riverside Finance                Unsecured             NA           $0.42        $0.42            $0              $0
    Sallie Mae                       Unsecured       $2,743.00      $2,595.66    $2,595.66            $0              $0
    Social Security Administration   Unsecured       $2,449.00           NA           NA              $0              $0
    USA Funds                        Unsecured       $1,087.00           NA           NA              $0              $0




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    Summary of Disbursements to Creditors:
                                                                 Claim!             Principal!          Interest!
                                                                Allowed               Paid                Paid
    Secured Payments:
           Mortgage Ongoing                                     $65,529.60                  $0                      $0
           Mortgage Arrearage                                    $4,300.00                  $0                      $0
           Debt Secured by Vehicle                               $8,154.65            $246.67                       $0
           All Other Secured                                     $2,319.75             $15.42                       $0
    TOTAL SECURED:                                              $80,304.00            $262.09                       $0

    Priority Unsecured Payments:
           Domestic Support Arrearage                                     $0                $0                      $0
           Domestic Support Ongoing                                       $0                $0                      $0
           All Other Priority                                    $1,136.55                  $0                      $0
    TOTAL PRIORITY:                                              $1,136.55                  $0                      $0

    GENERAL UNSECURED PAYMENTS:                                 $58,231.90                  $0                      $0



    Disbursements:
                Expenses of Administration                                $255.61
                Disbursements to Creditors                                $262.09

    TOTAL DISBURSEMENTS:                                                                                $517.70




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                12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009, the
      estate has been fully administered, the foregoing summary is true and complete, and all administrative
      matters for which the trustee is responsible have been completed. The trustee requests a final decree
      be entered that discharges the trustee and grants such other relief as may be just and proper.



      Date: February 24, 2010                 By: /s/ MARILYN O. MARSHALL
                                                                    Trustee


       STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork
       Reduction Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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